Filed 8/21/24 P. v. Piquinto CA5




                  NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.


           IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
                                     FIFTH APPELLATE DISTRICT


 THE PEOPLE,
                                                                                             F087718
           Plaintiff and Respondent,
                                                                               (Super. Ct. No. VCF434843)
                    v.

 CATALINO MORALES PIQUINTO,                                                               OPINION
           Defendant and Appellant.



                                                   THE COURT*
         APPEAL from a judgment of the Superior Court of Tulare County. Jennifer Conn
Shirk, Judge.
         Richard Jay Moller, under appointment by the Court of Appeal, for Defendant and
Appellant.
         Office of the State Attorney General, Sacramento, California, for Plaintiff and
Respondent.
                                                        -ooOoo-




         * Before Detjen, Acting P. J., Meehan, J. and Snauffer, J.
                          STATEMENT OF APPEALABILITY
       This appeal is from a final judgment following a no contest plea that finally
disposes of all issues between the parties. (Cal. Rules of Court,1 rule 8.304(b); Pen.
Code,2 § 1237.5.)
                              STATEMENT OF THE CASE
       On October 26, 2022, the Tulare County District Attorney filed a complaint
charging Piquinto with ten counts of a lewd act upon a child under the age of 14 (§ 288,
subd. (a)) and alleged with respect to counts 1 through 4 that he had substantial sexual
conduct with a child under the age of 14. (§ 1203.066, subd. (a)(8).)
       On November 16, 2023, Piquinto pleaded no contest to three counts of a lewd act
upon a child under the age of 14 (§ 288, subd.(a)) and admitted that he had substantial
sexual conduct with a child under the age of 14 (§ 1203.066, subd. (a)(8)) on the
condition that he receive a 12-year sentence and the remaining charges and allegations be
dismissed at sentencing. The parties stipulated to a Tulare Police Department report as
the factual basis for the plea. Piquinto also stipulated to three aggravating factors,
including a vulnerable victim (rule 4.421(a)(3)), violent conduct (rule 4.421(b)(1)), and
planning and sophistication (rule 4.421(a)(8).) Piquinto waived his right to appeal.3
       On January 18, 2024, the trial court sentenced Pinquito to the upper term of eight
years on count 1, and one the third the mid-term of two years, consecutively, on counts 2
and 3, for a total of 12 years.
       Over objection, the trial court imposed a $10,000 restitution fine (§ 1202.4,
subd. (b)); a suspended $10,000 probation revocation restitution fine (§ 1202.45); three


       1 Subsequent rule references are to the California Rules of Court.

       2 All statutory references are to the Penal Code unless otherwise stated.

       3 At sentencing, however, the trial court reassured Piquinto that he had the right to
file a notice of appeal within 60 days.


                                              2.
court security fines totaling $120 (§ 1465.8); three criminal assessment fines totaling $90
(Gov. Code, § 70373); a $300 sex offender registration fine (§ 290.3); and reserved
jurisdiction for direct restitution. The court awarded Pinquito 451 actual days and 67
days of conduct credit for a total of 518 days.
       On March 6, 2024, Pinquito filed a timely notice of appeal.
                               STATEMENT OF FACTS4
       On March 7, 2022, I.T. told the police that, when she was between 10 and 14 years
old, Piquinto kissed her, touched her chest, penetrated her vagina with his fingers, had her
touch his penis, and rubbed his penis against her buttocks. On December 24, 2022,
Pinquito admitted to kissing I.T., touching her chest, and penetrating her vagina with his
fingers three times on one occasion.
                            APPELLATE COURT REVIEW
       Piquinto’s appointed appellate counsel has filed an opening brief that summarizes
the pertinent facts, raises no issues, and requests this court to review the record
independently. (People v. Wende (1979) 25 Cal.3d 436 (Wende).) The opening brief also
includes the declaration of appellate counsel indicating Piquinto was advised he could file
his own brief with this court. By letter on June 26, 2024, we invited Piquinto to submit
additional briefing.
       On July 23, 2024, Piquinto’s counsel filed an application for permission to file a
supplemental brief on Piquinto’s behalf, accompanied by the supplemental brief, stating
that Piquinto had spoken to him and said he would like to raise a restitution issue, but was
unable to do so due to his poor understanding of English. Piquinto asked counsel to raise
the issue. Counsel stated that after conducting further research, “I have determined that
raising the issue is needed to further his best interests. Therefore, [Piquinto] requests
permission to file his supplemental brief raising this issue.” After receiving the

       4 The facts are drawn from the probation officer’s report.



                                              3.
supplemental brief, we asked appellate counsel to clarify whether his intent was for the
supplemental brief to be Piquinto’s response to the Wende brief. Piquinto’s counsel
confirmed it was. We have considered the Supplemental Brief, but it presents no issues
that would warrant relief on appeal.
       Having undertaken an examination of the entire record, we find no evidence of
ineffective assistance of counsel or any other arguable error that would result in a
disposition more favorable to Piquinto.
                                       DISPOSITION
       The judgment is affirmed.




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